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    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 20-1929V
                                        UNPUBLISHED


    JENNIFER A. CLASEN,                                     Chief Special Master Corcoran

                        Petitioner,                         Filed: June 23, 2022
    v.
                                                            Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                 Ruling on Entitlement; Concession;
    HUMAN SERVICES,                                         Table Injury; Influenza (Flu) Vaccine;
                                                            Shoulder Injury Related to Vaccine
                       Respondent.                          Administration (SIRVA)


Scott B. Taylor, Urban & Taylor, S.C., Milwaukee, WI, for Petitioner.

Jennifer A. Shah, U.S. Department of Justice, Washington, DC, for Respondent.

                                   RULING ON ENTITLEMENT1

        On December 21, 2020, Jennifer A. Clasen filed a petition for compensation under
the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2 (the
“Vaccine Act”). Petitioner alleges that that she suffered a shoulder injury related to
vaccine administration (“SIRVA”) as a result of an influenza vaccine received on or about
October 17, 2018. Petition at 1. Petitioner further alleges that the vaccine was
administered in the United States, she has suffered residual effects for more than six
months, and she has never received compensation in the form of an award or settlement,
or filed a civil action, for her vaccine-related injuries. Petition at ¶¶ 2, 21, 24. The case
was assigned to the Special Processing Unit of the Office of Special Masters.



1
  Because this unpublished Ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the Ruling will be available to anyone with access to the internet. In accordance
with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I agree that
the identified material fits within this definition, I will redact such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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       On June 23, 2022, Respondent filed his Rule 4(c) report in which he concedes that
Petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report at 1.
Specifically, Respondent agrees that “petitioner has satisfied the criteria set forth in the
Table and the Qualifications and Aids to Interpretation (“QAI”) for left-shoulder SIRVA,”
including the onset of pain within 48 hours and all other QAI requirements. Id. at 9-10.
Respondent notes that a provider suggested that Petitioner may have had brachial
plexopathy, but that there were no findings on neurological exam to support this
diagnosis, and Petitioner’s EMG was normal. Id. at 10. Respondent further agrees that
the case was timely filed, the vaccine was received in the United States, and that
Petitioner satisfies the statutory severity requirement because the residual effects or
complications of her injury continued for more than six months. Id. Respondent adds that
Petitioner avers that no civil action or proceedings have been pursued in connection with
her vaccine-related injury. Id.

       In view of Respondent’s position and the evidence of record, I find that
Petitioner is entitled to compensation.

      IT IS SO ORDERED.

                                                        s/Brian H. Corcoran
                                                        Brian H. Corcoran
                                                        Chief Special Master




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